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            IN THE UNITED STATE DISTRICT COURT FOR
                 THE DISTRICT OF MARYLAND

       UNITED STATES OF AMERICA
       v.                                           Case # CCB-19-575
       DAVANTE HARRISON
                Defendant


                                        Motion to Suppress


       NOW COMES, Davante Harrison, Defendant, by and through his attorneys, John E. Cox,

Esq. and Natalie A. Finegar, Esq, moves the Honorable Court, pursuant to Fed. R. Crim. Proc. 12

and 41, and the Fourth Amendment to the United States Constitution, to suppress all items seized

from a Toyota Camry on November 25, 2019. The grounds for this Motion are as follows:


                                           Factual Overview


       On November 25, 2019 investigators from the FBI Baltimore Safe Streets Task Force

responded to the area of 10310 Gelding Drive in Cockeysville, Maryland. The investigators had a

search warrant for the person of Davante Harrison that had been issued by the Honorable Judge

Beth Gesner of the United States District Court of Maryland. Investigators were alerted to the

address by both location data on a rental vehicle believed to be driven by Mr. Harrison and geo-

location pings from a cell phone alleged to belong to Mr. Harrison.


       At approximately 1:40pm investigators saw Mr. Harrison exiting 10310 Gelding Drive.

Investigators executed the search warrant for Mr. Harrison. Investigators conducted a warrantless

search on the Toyota Camry rental vehicle associated with Mr. Harrison. Inside the vehicle,
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investigators allege to have recovered 8.5 grams of white powder and 2.1 grams of grayish-brown

powder that were analyzed and found to be a mixture of Fentanyl and Heroin. The search warrant

for Mr. Harrison was for his person only and did not extend to any vehicles or the Toyota Camry

in particular. Investigators allege they received consent from Mr. Harrison for the search of the

vehicle. Mr. Harrison denies providing consent to search the vehicle in question.


                                                .Argument


       The Fourth Amendment1 denounces those searches that are “unreasonable.” Florida v.

Jimeno, 500 U.S. 248, 250 (1991); Carroll v. United States, 267 U.S. 132, 147 (1925), including

seizures that involve only a brief detention. See, United States v. Mendenhall, 446 U.S. 544, 551

(1980); United States v. Arvizu, 534 U.S. 266 (2002); Ferris v. State, 355 Md. 356, 369 (1999).

Subject to a few exceptions, “searches conducted outside the judicial process, without prior approval

by judge or magistrate, are per se unreasonable.” Katz v. United States, 389 U.S. 347 (1967).


       "Subject to a few carefully delineated exceptions, warrantless searches are presumptively

unreasonable." Powell v. State, 139 Md. App. 582, 599 (2001) (citing Katz v. United States, 389

U.S. 347, 357 (1967)). The Court of Special Appeals has explained,

       When the State's investigation, for whatever reason, follows the disfavored
       warrantless route, on the other hand, the procedural ball ends up in the State's court.
       The State assumes the burden of overcoming the presumption of invalidity by
       demonstrating, by however many steps are necessary, that the warrantless search
       satisfied one of the firmly established exceptions to the warrant requirement.



 1 The Fourth Amendment provides:

       The right of the people to be secure in their persons, houses, papers, and effects,
       against unreasonable searches and seizures, shall not be violated, and no Warrants
       shall issue, but upon probable cause, supported by Oath or affirmation, and
       particularly describing the place to be searched, and the persons or things to be
       seized.
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               In Trulock v. Freeh, 275 F.3d 391 (4th Cir. 2001) the Court outlined “(v)alid

       consent is a well-recognized exception to the Fourth Amendment prohibition

       against warrantless searches” Consent is not to be inferred lightly, United States v.

       Impink, 728 F.2d 1228, 1232 (9th Cir 1984). Additionally, consent by a defendant

       can be limited in scope and can be withdrawn, United States v. Jones, 356 F.3d 529

       (4th Cir. 2004).


               In the matter before the Court, the Government does not have a written

       consent or any actions on the part of Mr. Harrison that would indicate he consented.

       The Government has not provided any indication of how Mr. Harrison supplied

       consent. Mr. Harrison denies any inquiry by the investigators seeking permission

       to search the Toyota Camry. Mr. Harrison was placed under arrest, searched and

       without any inquiry by the Government, the vehicle was searched.




                                               Conclusion

       WHEREFORE, the Defendant, Davante Harrison, moves this Honorable Court, to suppress

all items seized from the Toyota Camry.



Respectfully submitted,
Davante Harrison
By and through counsel



/s/ John E. Cox
John E. Cox
Federal Bar #29852 (MD)
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                                    CERTIFICATE OF SERVICE

              THIS IS TO CERTIFY, that on this 22nd day of June, 2021, a copy of the

foregoing Motion to Suppress was electronically filed in this case and was duly served upon

counsel of record by operation of the Court’s ECF system.



/s/ John E. Cox
John E. Cox
